                                    Case
                                     Case2:17-cr-00021-JCM-EJY
                                          2:17-cr-00021-JCM-GWF Document
                                                                 Document109  Filed 03/22/17
                                                                          108 Filed 03/22/17 Page
                                                                                              Page11ofof22



                                1     WILLIAM B. TERRY, ESQ.
                                      Nevada Bar No. 001028
                                2     WILLIAM B. TERRY, CHARTERED
                                      530 South Seventh Street
                                3     Las Vegas, Nevada 89101
                                      (702) 385-0799
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                                      Info@WilliamTerryLaw.com
                                5     Attorney for Defendant
                                6
                                                                   UNITED STATES DISTRICT COURT
                                7
                                                                          DISTRICT OF NEVADA
                                8
                                9
                                      UNITED STATES OF AMERICA,                    )
                               10                                                  )       CASE NO.       2:17-cr-21-JCM-GWF
                                                            Plaintiff,             )
WILLIAM B. TERRY, CHARTERED




                               11                                                  )
                                             vs.                                   )
    Las Vegas, Nevada 89101
    530 South Seventh Street




                               12                                                  )
         (702) 385-0799




                                      SUSAN M. SIEGEL,                             )
                               13                                                  )
                                                            Defendant.             )
                               14                                                  )
                               15            STIPULATION TO DEFER INITIAL APPEARANCE OF SUSAN SIEGEL
                               16            IT IS HEREBY STIPULATED by and between, WILLIAM B. TERRY, ESQ., of the law
                               17     offices of WILLIAM B. TERRY, CHARTERED, counsel for Defendant, SUSAN SIEGEL, and
                               18     Assistant United States Attorneys DANIEL COWHIG and KILBY C. MCFADDEN, counsel for
                               19     Plaintiff, UNITED STATES OF AMERICA, that the initial appearance of the Defendant Susan
                               20     Siegel be deferred one week until March 29, 2017 at 3:00 p.m. by this Honorable Court.
                               21            This stipulation is entered into based on the following reasons:
                               22            1.     That counsel for the Defendant, Susan Siegel, is requesting this continuance due to
                               23                   the following reasons:
                               24                   (a)     Counsel has recently been retained to represent the Defendant in the instant
                               25                           action;
                               26                   (b)     That the Defendant Susan Siegel has entered into a plea agreement with the
                               27                           United States. To avoid repeated travel, the Defendant will request the Court
                               28                           set her initial appearance summons for arraignment and entry of plea the day
                                                            prior to the date set for her change of plea pursuant to the plea agreement;
     Case
      Case2:17-cr-00021-JCM-EJY
           2:17-cr-00021-JCM-GWF Document
                                  Document109  Filed 03/22/17
                                           108 Filed 03/22/17 Page
                                                               Page22ofof22



 1                           and
 2                   (c)     That the Defendant Susan Siegel resides out of state and will need to make
 3                           arrangements to come to Las Vegas for purposes of appearing before this
 4                           Honorable Court.
 5            2.     Counsel for the Defendant has spoken to the Defendant and the Defendant has no
 6                   objection to the requested continuance;
 7            3.     Counsel for the Defendant has spoken to counsel for the Plaintiff and have no
 8                   objection to the requested continuance;
 9            4.     This is the first request for a continuance of the initial appearance date in this case.
10            DATED this     22nd day of March, 2017.
11
       UNITED STATES ATTORNEY                                WILLIAM B. TERRY CHARTERED
12
13        /s/ Daniel Cowhig                                      /s/ William Terry
       DANIEL COWHIG                                         WILLIAM B. TERRY, ESQ.
14     Assistant United States Attorney                      Nevada State Bar No. 001028
       Office of the United States Attorney                  530 South Seventh Street
15     District of Nevada                                    Las Vegas, Nevada 89101
       501 Las Vegas Boulevard South, #1100                  Attorney for Defendant
16     Las Vegas, Nevada 89101                               (702) 385-0799
       Attorney for Plaintiff
17     (702) 388-6336
18
19                                                  ORDER
20            IT IS ORDERED that the initial appearance for Defendant Susan Siegel currently scheduled
21     for March 22, 2017, be deferred until March 29, 2017, at the hour of 3:00 p.m.
22            DATED this 22nd day of March, 2017.
23
24
                                             UNITED STATES MAGISTRATE JUDGE
25
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